                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2022-NCCOA-165

                                        No. COA20-536

                                     Filed 15 March 2022

     Cleveland County, No. 18CRS051578

     STATE OF NORTH CAROLINA

                  v.

     JUANITA MULLINAX, Defendant.


           Appeal by Defendant from judgment entered 22 November 2019 by Judge J.

     Thomas Davis in Cleveland County Superior Court. Heard in the Court of Appeals 7

     September 2021.


           Attorney General Joshua H. Stein, by Associate Attorney General Robert J.
           Pickett, for the State.

           Shelly Bibb DeAdder for the Defendant.


           DILLON, Judge.


¶1         Defendant was charged with possession of methamphetamine after drugs were

     found inside her pants pocket during an encounter with law enforcement officers in

     a retail store parking lot. She later pleaded guilty to the charge after her motion to

     suppress was denied.    On appeal, she challenges the trial court’s denial of her

     suppression motion. We conclude that some of the trial court’s key findings are not

     supported by the evidence. Accordingly, we vacate and remand to allow the trial court
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     to make additional findings and conclusions consistent with the evidence and this

     opinion.

                                   I. Appellate Jurisdiction

¶2         We note that Defendant’s attorney gave oral notice of appeal of the denial of

     the suppression motion rather than the final judgment. See State v. McBride, 344

     N.C. 623, 476 S.E.2d 106 (1996) (affirming per curiam an opinion holding that the

     notice of appeal must be from the final judgment rather than from the order denying

     a suppression motion). Defendant, however, has petitioned our Court for writ of

     certiorari. In our discretion, we grant Defendant’s petition.

                                    II. Standard of Review

¶3         In reviewing the denial of a motion to suppress, we evaluate whether

     competent evidence supports the trial court’s findings of fact and whether the

     findings of fact support the conclusions of law. State v. Brooks, 337 N.C. 132, 141,

     446 S.E.2d 579, 585 (1994). “[I]t is the appellant who has the burden in the first

     instance of demonstrating error from the record on appeal.” State v. Adams, 335 N.C.

     401, 409, 439 S.E.2d 760, 764 (1994).

                                   III. Factual Background

¶4         A uniformed deputy (the “Deputy”) approached Defendant while she sat in her

     car in a parking lot. The Deputy believed Defendant to be a Ms. McConnell, who was

     the subject of outstanding arrest warrants.         During the encounter, Defendant
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     provided the Deputy with her driver’s license ID.
¶5         Five (5) minutes later (roughly eight (8) total minutes into the encounter), after

     determining that Defendant was not Ms. McConnell and confirming that Defendant

     otherwise had no outstanding warrants, the Deputy returned to Defendant’s car, but

     failed to return the ID to her. Defendant was standing outside the vehicle while the

     Deputy asked for consent to search her vehicle. In any event, a full fifty (50) seconds

     later, another deputy (the “Backup Deputy”) approached Defendant and the Deputy

     and noticed what he suspected were drugs in Defendant’s pocket. The Backup Deputy

     pulled Defendant aside and asked to search her pocket, whereupon he retrieved a bag

     containing methamphetamine. She was subsequently placed under arrest.

                                          IV. Analysis

¶6         Defendant was clearly in violation of the law by possessing illegal drugs.

     Defendant, however, argues that the trial court erred in denying her motion to

     suppress the drugs, contending that she was illegally seized at the point of the

     encounter when the Backup Deputy saw the drugs in her pocket. Notwithstanding

     the evidence of her guilt from the body cam videos worn by the deputies, we must

     review her rights under the Fourth Amendment of the Constitution, which protect all

     citizens against unreasonable search and seizure from the government. Indeed, the

     North Carolina Supreme Court has recognized the “exclusionary rule,” that “evidence

     derived from an unconstitutional search or seizure is generally inadmissible in a
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     criminal prosecution of the individual subjected to the constitutional violation.” State

     v. McKinney, 361 N.C. 53, 58, 637 S.E.2d 868, 872 (2006).

¶7         The trial court made findings regarding the encounter. Defendant challenges

     several of them.     We focus on two of the findings challenged by Defendant.

     Specifically, the trial court found that Defendant was never “seized,” because she was

     free to leave at any time. Also, the trial court essentially found that no gap in time

     occurred between the time the Deputy returned to Defendant’s car with Defendant’s

     license in hand, and the time when the Backup Deputy walked over to Defendant’s

     vehicle and discovered the drugs in Defendant’s pocket.

                                   A. Defendant Was Seized

¶8         The Supreme Court of the United States has recognized that not every

     encounter between a citizen and a law enforcement officer is a seizure:

                  Our cases make it clear that a seizure does not occur simply
                  because a police officer approaches an individual and asks
                  a few questions. So long as a reasonable person would feel
                  free to disregard the police and go about his business, the
                  encounter is consensual, and no reasonable suspicion is
                  required. The encounter will not trigger Fourth
                  Amendment scrutiny unless it loses its consensual nature.

     Florida v. Bostick, 501 U.S. 429, 434 (1991) (quotations and citations omitted).

¶9         The North Carolina Supreme Court has recognized that the test for

     determining whether a seizure has occurred is whether, under the totality of

     circumstances, a “reasonable person would feel free to decline the officer’s request or
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       otherwise terminate the encounter.” State v. Icard, 363 N.C. 303, 308-09, 677 S.E.2d

       822, 826 (2009) (citing Bostick, 501 U.S. at 436-37). That Court has instructed that

       “relevant circumstances include, but are not limited to, the number of officers

       present, whether the officer displayed a weapon, the officer’s words and tone of voice,

       any physical contact between the officer and the individual, whether the officer

       retained the individual’s identification, or property, the location of the encounter, and

       whether the officer blocked the individual’s path.” Id. at 309, 677 S.E.2d at 827.

¶ 10         The body cam videos are part of the record. Below is a summary of the events

       as portrayed in the videos. For instance, the videos show the Deputy reapproach

       Defendant without returning her ID to her at the 8 minute, 19 second (8:19) mark,

       and the Backup Deputy discovering the drugs fifty (50) seconds later at the 9:09

       mark. The body cam videos show as follows:

             0:30   The Deputy gets out of his patrol car and approaches Defendant,
                    who is sitting in her car with the driver’s side door opened. He
                    asks Defendant if he could speak with her.

                    Immediately, Defendant receives a cellphone call from her niece.
                    She answers to let her know where in the parking lot she is.
                    Defendant tells the Deputy that she is meeting her niece in the
                    parking lot to borrow money from her.

             1:12   While Defendant is on the phone, the Officer directs Defendant to
                    “ask” her niece to drive over to where they are parked. Defendant
                    then tells her niece that she is parked next to a police vehicle.

             1:30   While Defendant is still on the phone, the Deputy directs
                    Defendant to “tell” her niece to drive over to where they are
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       parked.

1:50   Defendant hangs up. Her niece has now pulled up, parked several
       feet on the other side of the police car from where Defendant is
       parked and the Deputy is standing.

2:10   Defendant again tells the Deputy she is there to borrow money
       from her niece. The Deputy then walks over to the niece’s car and
       asks her why she is there. She responds that she is there to lend
       money to Defendant.

2:35   The Deputy walks back over to Defendant, who is still in her car,
       and asks her for her name. She responds truthfully. He asks her
       for identification, which she immediately and freely gives.

2:45   The Deputy tells her why he stopped her, that he recognized the
       car as one owned by a man who was a person of interest in drug
       crimes and is also occasionally driven by a Ms. McConnell, the
       subject of outstanding arrest warrants.

2:57   The Deputy looks at Defendant’s ID and states that he sees that
       Defendant is not Ms. McConnell. He retains the ID.
3:02   Defendant tells the Deputy that she babysits for the car owner,
       who let her borrow the car to meet her niece, and that she knows
       Ms. McConnell.

3:40   The Deputy asks Defendant if there are drugs in the car. She
       states that she has no idea, as the car is not hers.

3:55   The Deputy then leaves Defendant and walks over to her niece
       and asks her for her name. He then goes to his police car.

4:03   The Deputy gets into his police car and runs a warrants/records
       check on Defendant’s ID. He remains in his car for almost 2
       minutes.

5:50   The Deputy gets out of his police car and walks back over to the
       niece’s car.
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6:27   The Deputy asks the niece for her ID, which she freely gives.
       Another marked patrol car pulls up and parks between the niece’s
       car and the Deputy’s car. The Backup Deputy and a third deputy
       (the “Junior Deputy”) get out of the second police car. The Deputy
       tells the Backup Deputy about the vehicle he has pulled over.

7:00   The Deputy gets back into his car with Defendant’s ID and the
       niece’s ID and runs a check, presumably on the niece’s ID.
8:08   The Deputy goes back to the niece’s car and hands the niece’s ID
       to the Backup Deputy. He tells the Backup Deputy that
       Defendant’s story about borrowing money from her niece “adds
       up” but that he is going to ask Defendant to let him search the
       car. The Backup Deputy hands the niece her ID, staying with her
       and engaging in polite conversation with her.

8:19   (This begins the key point of the encounter, over four (4) minutes
       after the deputy had last spoken to Defendant.) The Deputy goes
       back to Defendant’s car and asks if he can search it. He still
       retains Defendant’s ID. He tells Defendant that she needs to be
       honest as to whether there are drugs in the car. She again tells
       him that she does not know, as the car is not hers.

       At some point the Backup Deputy breaks off his polite
       conversation with the niece, telling her he is going to see what is
       going on with the Deputy and Defendant. As he is leaving the
       niece, he instructs the Junior Deputy to stay with and “watch” the
       niece. The Junior Deputy can be seen walking toward the niece’s
       car, where the niece’s driver door is still opened.

9:09   (This is also a key point of the encounter, occurring 50 (fifty)
       seconds after the Deputy asked to search Defendant’s car, while
       retaining Defendant’s ID.) The Backup Deputy arrives at
       Defendant’s car where Defendant is speaking with the Deputy
       about searching her car. The Backup Deputy testified that at
       some point after walking over to Defendant’s car, he noticed a
       plastic bag through a hole in Defendant’s pocket and that he could
       see what appeared to be methamphetamine in the plastic bag.
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                    The video is not conclusive on this point, but the trial court found
                    this as fact.

             9:44   Defendant gives consent to search the car but then begins to say
                    something, at which point the Backup Deputy asks Defendant to
                    walk about ten (10) feet away next to the passenger side of the
                    Deputy’s car so that they could talk. As she walks away, the
                    Deputy begins his search. But before talking to her, the Backup
                    Deputy walks back over to the Deputy and states, “I’m trying to
                    keep her busy. She was about to revoke [unintelligible].”

             10:00 The Backup Deputy then asks Defendant if he can search her
                   person. After some talking, she states that she does not mind.

             10:30 The Backup Deputy immediately reaches in one of Defendant’s
                   pockets and pulls out a plastic bag.

             10:55 The Backup Deputy states that he saw the bag when he had
                   walked up to the car a few minutes before. He asks her if that
                   was “dope.” She responds, “Apparently.”

¶ 11         The initial few moments of the encounter had all the hallmarks of a consensual

       encounter. The Deputy did not activate his lights, he did not block Defendant’s exit,

       he did not object to Defendant answering her phone, and he asked her politely if he

       could speak with her.

¶ 12         However, a little over a minute into the encounter, the tenor changed, and

       some attributes of a seizure began to appear. That is, circumstances developed

       between the 1:08 mark and the 8:19 mark of the encounter that would cause a

       reasonable person in Defendant’s position to believe she was not free to leave.

¶ 13         The first circumstance that would indicate a seizure occurred a little over a
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       minute into the encounter, was when the Deputy directed Defendant to ask and then

       tell her niece to drive over to where they were parked. He was calm in his tone, but

       his desire to have Defendant stay put and have her niece come to where they were

       parked was stated grammatically in the form of commands. See State v. Farmer, 333

       N.C. 172, 187, 424 S.E.2d 120, 129 (1993) (whether a seizure has occurred may

       depend, at least in part, on whether “the use of language . . . indicat[es] that

       compliance with the officer’s request might be compelled”).

¶ 14          Around the 2:45 mark, the Deputy walked away from Defendant with her ID

       in hand after stating that he was satisfied she was not the wanted woman (Ms.

       McConnell) whom he was looking for, but without asking her for consent to walk away

       with it. He returned to Defendant more than five (5) minutes later. Case law

       suggests that a reasonable person who is away from their home in her car would

       generally not feel free to drive away and go about her business without her license

       and would, therefore, be seized. See State v. Parker, 256 N.C. App. 319, 326-27, 807

       S.E.2d 617, 621-22 (2017); see also State v. Jackson, 199 N.C. App. 236, 243, 681

       S.E.2d 492, 497 (2009).1 Also, the fact that the Deputy spent almost two minutes



              1 We note that the Fourth Circuit, which includes North Carolina but whose cases are

       not binding on our Court, has stated that the fact that one’s driver’s license is retained during
       a traffic stop “is a highly persuasive factor in determining whether a seizure has occurred.”
       United States v. Weaver, 282 F.3d 302, 311 (4th Cir. 2002). In Weaver, the Court reasoned
       that if the police retained one’s license during a traffic stop, “the citizen would be [caught]
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       inside his patrol car away from Defendant rather than checking on any warrants in

       Defendant’s presence is a circumstance that tends to indicate Defendant would not

       feel free to leave, as she would not be in a position during those two minutes to ask

       for her license back. See, e.g., United States v. Analla, 975 F.2d 119, 124 (4th Cir.

       1992) (no seizure occurred because, in part, the officer “did not take the license into

       his squad car, but instead stood beside the car, near where [the defendant] was

       standing [such that the defendant] was free at this point to request that his license .

       . . be returned and to leave the scene”); see also Golphin v. State, 945 So.2d 1174,

       1200-01 (Fla. 2006) (“The difficulty in securing the return of an identification from an

       officer who has retreated to a closed police vehicle may contribute to the defendant’s

       sense of being detained.”)

¶ 15          Also, during these five (5) minutes, the Backup Deputy and the Junior Deputy

       arrived on the scene. Our Supreme Court has stated that multiple uniformed officers

       on the scene would contribute to a defendant’s sense of being subject to a seizure.

       Icard, 363 N.C. at 309, 677 S.E.2d 827.



       between the Scylla of consent to the encounter [and] the Charybdis of driving away and risk
       being cited for driving without a license.” Id. at 311. The Court then cited other circuit cases
       holding that one is per se seized if, during a traffic stop, the officer retains the suspect’s license
       beyond that which is required. See United States v. Mendez, 118 F.3d 1426, 1430 (10th Cir.
       1997) (noting bright-line rule in the traffic stop context); United States v. Chan-Jimenez, 125
       F.3d 1324, 1326 (9th Cir. 1997) (same); United States v. Winfrey, 915 F.2d 212, 216 (6th Cir.
       1990) (same); United States v. Jefferson, 906 F.2d 346, 349 (8th Cir. 1990) (same).
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¶ 16         We conclude that the encounter became a seizure at some point prior to the

       Deputy returning to Defendant’s vehicle at the 8:19 mark. This is not to say that the

       seizure had been illegal. Indeed, it was permissible for the Deputy to determine that

       Defendant was not Ms. McConnell, and, perhaps take Defendant’s license to run a

       warrants check.

                                       B. Discovery of Drugs

¶ 17         The resolution of Defendant’s motion, however, turns on what occurred

       between the 8:19 mark—when the Deputy finally returned to Defendant—and the

       9:09 mark, when the Backup Deputy left the niece and arrived at Defendant’s car and

       saw the illegal drugs in Defendant’s pocket.         Indeed, our Supreme Court has

       instructed that, based on recent precedent from the United States Supreme Court, “a

       law enforcement officer may not detain a person even momentarily without

       reasonable, objective grounds for doing so.” State v. Reed, 373 N.C. 498, 508, ___

       S.E.2d ___, ___ (2020) (internal marks omitted) (citing Royer, 460 U.S. at 497-98.).

¶ 18         It is unchallenged that the Deputy retained Defendant’s license after

       reapproaching her at the 8:19 mark. We conclude that she remained seized at this

       point, as she would not have felt free to ignore the Deputy and leave, even with her

       niece.2


             2   The trial court found that law enforcement’s encounter with the niece “was
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¶ 19          The question then becomes whether the seizure had been unconstitutionally

       prolonged by the time the Backup Deputy noticed the drugs in her pocket. The trial

       court found that at the same time the Deputy “returned to the defendant with her

       license to request a search of the car, [the Backup Deputy] was then forming his

       reasonable suspicion that the defendant possessed illegal narcotics, thereby

       justifying a change and extension of the scope and purpose of the stop for further

       investigation.” Defendant challenges this finding, and the body cams clearly and

       conclusively show that the Deputy was alone with Defendant for fifty (50) seconds—

       from the 8:19 mark to the 9:09 mark—before the Backup Deputy had finished talking

       with the niece and walked over to where Defendant and the Deputy were standing.

¶ 20          This case is similar to State v. Parker. In that case, we held that a motion to

       suppress should have been allowed where two officers separated the defendant from

       a companion during an encounter; the officers checked the defendant’s license and




       completed” by the 8:19 mark and, therefore, Defendant was free to leave her car in the
       parking lot and ride away with her niece without her driver’s license. However, the trial
       court failed to specifically find that a reasonable person in Defendant’s position would have
       known that her niece was free to leave and, therefore, she could (1) ignore the Deputy who
       had just walked over to her, still retaining her license; (2) walk over to her niece’s car several
       yards away; (3) get into the car with her niece; and (4) be driven away. Indeed, the body cam
       videos themselves do not show that Defendant had any way of knowing that her niece was
       not seized. At the 8:19 mark when the Deputy returned to Defendant, the other deputies
       remained with her niece with the niece’s driver’s door open, with the Backup Deputy blocking
       the door at times. When the Backup Deputy left the niece to walk toward Defendant, he tells
       the Junior Deputy to stay with the niece and to “watch” her.
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       determined she had no warrants; the officers, however, retained possession of the

       license and asked to search her car; and narcotics were found during the search.

       Parker, 256 N.C. App. at 321-23, 807 S.E.2d at 619-20. Specifically, we held that

       “[a]bsent a reasonable suspicion and articulable suspicion to justify further delay,

       retaining defendant’s driver’s license beyond the point of satisfying the purpose of the

       initial detention . . . was unreasonable.” Id. at 327, 807 S.E.2d at 622.

                                           V. Conclusion

¶ 21         Defendant’s encounter with the deputies became a seizure at some point prior

       to the drugs being detected by the Backup Deputy. The initial justification for the

       seizure disbanded fifty (50) seconds before the Backup Deputy discovered the drugs.

       The trial court never made findings in this regard, as the trial court incorrectly found

       that Defendant was never seized.

¶ 22         We, therefore, vacate the order and remand to the trial court to make

       additional findings concerning whether there was any other justification for the

       deputies to extend the seizure for fifty (50) seconds beyond the time the Deputy

       reapproached Defendant’s car or, otherwise, whether any exception to the

       exclusionary rule might apply. If not, the trial court will allow Defendant’s motion to

       suppress and strike Defendant’s conditional guilty plea.

             VACATED AND REMANDED.

             Judge TYSON concurs.
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Chief Judge STROUD concurs in result only.
